Case 5:24-mj-00760-SM Document12 Filed 10/08/24 Page1of1

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF OKLAHOMA

UNITED STATES OF AMERICA ORDER OF TEMPORARY DETENTION
PENDING HEARING PURSUANT TO

VS. BAIL REFORM ACT

Case Number: M-24-760-SM

Nasir Ahmad Tawhedi

Defendant
Upon Motion of the:

[| Government and request for continuance by Government.

[DX] Government and request for continuance by Defendant.

[] Government and request for continuance by both Government and Defendant.
itis ORDERED
that a detention hearing is set for Thursday, October 17, 2024, at 9:00 a.m.

Date Time

before UNITED STATES MAGISTRATE JUDGE SUZANNE MITCHELL

U.S. Courthouse, 200 N.W. 4th Street, Courtroom 401, Oklahoma City, Oklahoma 73102

Pending this hearing, the defendant shall be held in custody by (the United States Marshal) (

) and produced for the hearing.

Other Custodial Official

Tuesday, October 8, 2024 Ze

SU NE MITCHELL
UNITED STATES MAGISTRATE JUDGE

Date

*If not held immediately upon defendant’s first appearance, the hearing may be continued for up to three days upon motion of the Government, or up to
five days upon motion of the defendant. 18 U.S.C. § 3142(f)(2).

A hearing is required whenever the conditions set forth in 18 U.S.C. § 3142(f) are present. Subsection (1) sets forth the grounds that may be asserted

only by the attorney for the Government; subsection (2) states that a hearing is mandated upon the motion of the attorney for the Government or upon the
judicial officer’s own motion if there is a serious risk that the defendant (a) will flee or (b) will obstruct or attempt to obstruct justice, or threaten, injure, or
intimidate, or attempt to threaten, injure, or intimidate a prospective witness or juror.

SR-03-2020
